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 IN THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
  DANIEL D’AMBLY, ET AL.,
                                                         CIVIL ACTION NO.:
            Plaintiffs,                                  2:20-cv-12880-
     vs.                                                 JKS-JSA

  CHRISTIAN EXOO, ET AL.
                                                         Hon. Jessica S. Allen,
            Defendants.                                  U.S.M.J.

                                                         MOTION AND NOTICE OF
                                                         MOTION

                                                         Return Date:
                                                         April 15, 2024


 PLEASE TAKE NOTICE that the Marlborough Law Firm, P.C., and Richard

 Torres, Esq. counsel for Movant Christian Exoo (“Movant”), shall move before the

 United States District Court for the District of New Jersey, located at Martin

 Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07102, on

 April 15, 2024, at 9:00 a.m. or as soon thereafter as counsel may be heard, for the

 entry of an Order Quashing the subpoena served on Christian Exoo on March 6,

 2024, or in the alternative for a protective Order limiting the scope of testimony

 and documents to be produced.

 PLEASE TAKE FURTHER NOTICE that in support of the within Motion,

 Movant shall rely upon the Memorandum of Law, and declarations of Christopher

 Marlborough, Esq. and Christian Exoo submitted herewith.
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 PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also

 submitted herewith.

 Dated: March 22, 2024



             By:

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